 1

 2

 3

 4

 5

 6

 7

 8                     UNITED STATES DISTRICT COURT

 9                    EASTERN DISTRICT OF CALIFORNIA
10

11   A.C., individually and as co-   No.   2:16-cv-00746-JAM-CKD
     successor-in-interest to
12   Decedent José Ceja, by and
     through his Guardian-Ad-Litem
13   Alicia Villa; I.C.,             ORDER GRANTING IN PART AND
     individually and as co-         DENYING IN PART DEFENDANTS’
14   successor-in-interest to        MOTION TO DISMISS
     Decedent José Ceja, by and
15   through his Guardian-Ad-Litem
     Alicia Villa; GUADALUPE
16   VILLA-VARGAS; ARTURO CEJA-
     GONZALEZ; W.C., individually,
17   by and through his Guardian-
     Ad-Litem Pablo Ceja; J.C.,
18   individually, by and through
     his Guardian-Ad-Litem Pablo
19   Ceja; PABLO CEJA,
     individually and as Guardian-
20   Ad-Litem for W.C. and J.C.;
     and LETICIA CEJA,
21
                 Plaintiffs,
22
           v.
23
     JOE GRIEGO; DANIEL HATZELL;
24   CLINTON MORGAN (All Officers
     for the Fairfield Police
25   Department); and the City of
     Fairfield,
26
                 Defendants.
27

28   ///
                                     1
 1         Defendants seek to dismiss a suit arising from the fatal

 2   police shooting of thirty-six-year-old José Ceja. ECF No. 12.

 3   Plaintiffs oppose dismissal. 1   ECF No. 16.

 4

 5           I.   FACTUAL ALLEGATIONS AND PROCEDURAL BACKGROUND

 6         The following facts are taken as true by the Court for

 7   purposes of this motion.

 8         In the early morning on January 15, 2015, three officers

 9   responded to a call for help from José Ceja’s family.      First Am.
10   Compl. (“FAC”) ¶¶ 22-23.   Pablo Ceja, José’s brother, greeted
11   Officers Joe Griego, Daniel Hatzell, and Clinton Morgan from
12   outside the family home in Fairfield, California.      Id. ¶¶ 8, 22-
13   24.   Pablo explained the situation, warned the officers that José

14   was “extremely intoxicated,” and asked that they turn on their

15   body cameras, which they did.    Id. ¶¶ 24-25.    As they entered the

16   house, they noticed José standing on a porch smoking a cigarette.

17   Id. ¶ 26.    A sliding glass door divided this porch from the

18   dining room.    One officer ordered José to come into the room.

19   Id. ¶¶ 26-27.   As José walked through the glass door, his mother
20   heard an officer yell at Officer Hatzell “wait, wait, wait,” but

21   to no avail:    Officer Hatzell shot José twice in the chest.   Id.

22   ¶¶ 27, 29.   He died on the kitchen floor.     Id. ¶ 29.

23           All witnesses say José merely walked into the house—at an

24   officer’s explicit request—when Officer Hatzell fired his weapon.

25   Id. ¶¶ 27-28.   They emphasize that José was not posing an

26
     1
27     This motion was determined to be suitable for decision without
     oral argument. E.D. Cal. L.R. 230(g). The hearing was
28   scheduled for August 23, 2016.
                                     2
 1   immediate threat to anyone.     Id. ¶ 27.    But Pablo overheard an

 2   officer say something about José having a knife.       Id. ¶ 30.

 3   Neither Pablo nor his mother saw anything in José’s hands; though

 4   his father speculated that José might have wielded a butter knife

 5   from the barbeque.   Id.    Pablo also heard one officer identify

 6   Officer Hatzell as the “rookie.”       Id. ¶ 33.

 7        Eight relatives (“Plaintiffs”) sued Officers Griego,

 8   Hatzell, Morgan, and the City of Fairfield (“Defendants”) 2 under

 9   42 U.S.C. § 1983 and several California law claims.       Plaintiff’s
10   include A.C. and I.C. (José’s children), Guadalupe Villa-Vargas
11   (José’s mother), Arturo Ceja-Gonzalez (José’s father), Pablo Ceja
12   (José’s brother), Leticia Ceja (José’s sister-in-law), W.C.
13   (José’s nephew), and J.C. (José’s niece).       Id. ¶¶ 6-13.   Except
14   for José’s children, all other plaintiffs were present during the

15   shooting:   José’s brother, mother, and father witnessed the

16   shooting; his sister-in-law, niece, and nephew heard the gunshots

17   from a different room.     Id. ¶ 31.

18        Plaintiffs seek damages for alleged constitutional

19   violations and associated pain and suffering under § 1983;
20   damages for wrongful death under C.C.P. §§ 337.60 and 337.61 and

21   Probate Code § 6402(b); funeral and burial expenses under those

22   same California statutes; damages for loss of financial support;

23   punitive damages; and attorneys’ fees and costs under 42 U.S.C.

24   §§ 1983, 1985-86, and 1988.

25        Defendants move to dismiss Plaintiffs’ FAC.

26
     2
27     Plaintiffs also sued other DOE and fictitiously named police
     officers, but this Court dismissed all claims as to those
28   unidentified defendants. ECF No. 15.
                                     3
 1                             II.      OPINION

 2         A.   Section 1983 Claims

 3         Section 1983 vindicates federal rights, but does not itself

 4   constitute a substantive right.      See Albright v. Oliver, 510

 5   U.S. 266, 271 (1994) (internal citation omitted).     To

 6   successfully bring a § 1983 claim, a plaintiff must show that “a

 7   person acting under color of state law committed the conduct at

 8   issue” and “that the conduct deprived the claimant of some

 9   right, privilege, or immunity protected by [federal law].”      Leer
10   v. Murphy, 844 F.2d 628, 632-33 (9th Cir. 1988).     Simply put,

11   § 1983 imposes liability for violating constitutional rights,

12   but not for violating duties arising from tort law.     See Baker

13   v. McCollan, 443 U.S. 137, 146 (1979).

14         B.   Discussion

15              1. Qualified Immunity

16         Although § 1983 allows individuals to vindicate their

17   federal rights, qualified immunity protects government officials

18   from liability for damages in certain situations.     “Qualified

19   immunity balances two important interests...the need to hold
20   public officials accountable when they exercise power

21   irresponsibly and the need to shield officials from harassment,

22   distraction, and liability when they perform their duties

23   reasonably.”   Pearson v. Callahan, 555 U.S. 223, 231 (2009).      In

24   other words, a person cannot sue a government official for

25   damages unless that official’s conduct violated a constitutional

26   or statutory right and that right was “clearly established” at

27   the time the conduct occurred.      See id.

28   ///
                                         4
 1          When deciding this issue, a court considers two criteria:

 2   (1) whether, under the alleged facts taken in the light most

 3   favorable to the plaintiff, a constitutional right was violated;

 4   and (2) whether that constitutional right was clearly

 5   established at the time the violation occurred.   See id. at 232.

 6   The court may address this analysis in either order, especially

 7   when the second criterion is clearly dispositive.   See id. at

 8   242.   Qualified immunity applies no matter if the official’s

 9   error was “a mistake of law, a mistake of fact, or a mistake
10   based on mixed questions of law and fact.”   Id. at 231 (internal
11   citations and quotation marks omitted).

12                 a. First Cause of Action Against Officers Griego,
                      Hatzell, and Morgan
13

14          Plaintiffs bring a § 1983 claim against Officers Griego,
15   Hatzell, and Morgan, alleging that the officers’ excessive force
16   violated José’s Fourth Amendment right.   FAC ¶¶ 45-49.
17   Defendants move to dismiss this claim as to Officers Griego and
18   Morgan.   Defendants argue that Plaintiffs neither allege facts
19   showing that Officers Griego and Morgan’s conduct violated
20   José’s constitutional right nor cite clearly established law

21   requiring on-scene officers to prevent or control alleged use of

22   force by another officer.   Mot. at 7.   Yet Plaintiffs say that

23   Officers Griego and Morgan are liable because they integrally

24   participated in the shooting, and José did not pose a threat to

25   anyone.   Opp’n at 11.

26          Here, the dispositive inquiry is whether it would have been

27   clear to a reasonable officer in Officers Griego and Morgan’s

28   position that their conduct was unlawful in the situation they
                                       5
 1   confronted.   See Wood v. Moss, 134 S. Ct. 2056, 2059 (2014).

 2   Plaintiffs’ “integral participation” theory fails because they

 3   did not allege supporting facts in their FAC.    They, instead,

 4   alleged those facts in their opposition brief.   Opp’n at 8-10.

 5   A court evaluates a complaint based on its allegations, not new

 6   facts or claims raised in a Rule 12(b)(6) opposition brief.      See

 7   Arres v. City of Fresno, No. CV F 10-1628, 2011 WL 284971, at

 8   *18 (E.D. Cal. Jan. 26, 2011) (emphasizing that allegations in

 9   opposition papers “are irrelevant for Rule 12(b)(6) purposes”).
10        Also, Plaintiffs have not pled facts showing that clearly

11   established law requires Officers Griego and Morgan to control

12   or prevent another officer’s use of force.   Plaintiffs merely

13   allege that Officers Griego and Morgan responded to the call for

14   help and possibly communicated with José.    FAC ¶¶ 23, 27-28.

15   Because it would not be clear to reasonable officers that this

16   conduct violated any constitutional right, qualified immunity

17   protects Officers Griego and Morgan.   Based on the allegations

18   as currently pled in the FAC, the Court grants Defendants’

19   motion to dismiss the First Cause of Action against Officers
20   Griego and Morgan.

21        Dismissal under Rule 12(b)(6) with prejudice and without

22   leave to amend is appropriate “only if it appears beyond doubt

23   that the plaintiff can prove no set of facts in support of his

24   claim which would entitle him to relief.”    Navarro v. Block, 250

25   F.3d 729, 732 (9th Cir. 2001) (internal citations and quotation

26   marks omitted).   Because the Court finds that Plaintiffs could

27   potentially allege sufficient facts, it dismisses the First

28   Cause of Action with leave to amend.
                                      6
 1                 b. Second Cause of Action Against Officers Griego,
                      Hatzell, and Morgan
 2

 3        Plaintiffs bring another § 1983 claim against Officers

 4   Griego, Hatzell, and Morgan, alleging that these officers

 5   violated Plaintiffs’ Fourteenth Amendment right to a familial

 6   relationship and a right to seek redress.   FAC ¶ 51.   Defendants

 7   move to dismiss this claim as to Officers Griego and Morgan.

 8   They again argue that Plaintiffs neither allege facts showing

 9   that Officers Griego and Morgan’s conduct violated Plaintiffs’

10   rights nor cite clearly established law requiring on-scene

11   officers to prevent or control alleged use of force by another

12   officer.   Mot. at 7.

13        Plaintiffs’ familial relationship aspect of their § 1983

14   claim fails against Officers Griego and Morgan for the same

15   reasons the first § 1983 claim failed.   The redress aspect of

16   this § 1983 claim also fails against all Defendants because

17   Plaintiffs have withdrawn it.   Opp’n at 11 n.3.

18        With respect to Plaintiffs’ Fourteenth Amendment right to a

19   familial relationship, that part of the claim is dismissed with

20   leave to amend against Officers Griego and Morgan.   As for

21   Plaintiff’s Fourteenth Amendment right to seek redress, that

22   part of the claim is dismissed with prejudice against all

23   Defendants.

24              2. Third Cause of Action Against the City of Fairfield

25        To allege a § 1983 claim against a city, a plaintiff must

26   allege facts showing that the city had a custom or policy that

27   caused the plaintiff’s constitutional injury.   See Monell v.

28   Dep’t of Soc. Servs., 436 U.S. 658, 694 (1978).    A “policy or
                                      7
 1   custom” under Monell is a “longstanding practice...which

 2   constitutes the ‘standard operating procedure’ of the local

 3   government entity.”    Ulrich v. City & Cty. of San Francisco, 308

 4   F.3d 968, 984 (9th Cir. 2002) (internal citation omitted).

 5   “[T]he complaint must allege the policy, as well as its causal

 6   relationship to the constitutional injury, in sufficient

 7   detail.”   Hass v. Sacramento Cty. Sheriff’s Dep’t, No. 2:13-cv-

 8   01746, 2014 WL 1616440, at *5 (E.D. Cal. Apr. 18, 2014).

 9        But a relaxed pleading standard may apply in limited
10   circumstances.   Allegations based on “information and belief”
11   may be sufficient to establish a “causal connection between the
12   existing or non-existing policies, procedures and practices and
13   the harms [Plaintiffs] experienced” when “the facts that might
14   demonstrate the causal connection—such as...corrective actions
15   taken or not taken—are not available to the pleading party
16   [before] discovery.”    Phillips v. Cty. of Fresno, No. 1:13-cv-
17   0538, 2013 WL 6243278, at *10 (E.D. Cal. Dec. 3, 2013) (internal

18   citations and quotation marks omitted).    This is particularly

19   true when a plaintiff raises failure to discipline or failure to
20   train claims.    See Estate of Duran v. Chavez, No. 2:14-cv-02048,

21   2015 WL 8011685, at *9 (E.D. Cal. Dec. 7, 2015) (allowing

22   plaintiffs’ failure to supervise, investigate, or discipline

23   claim survive defendants’ motion to dismiss); Phillips, 2013 WL

24   6243278 at *10 (“find[ing] that dismissal of plaintiffs’ claims

25   for entity/supervisor liability is inappropriate at this stage

26   of the proceeding”).

27        Plaintiffs bring a Monell claim against the City of

28   Fairfield (“City”).    FAC ¶¶ 52-57.   Defendants argue that
                                       8
 1   Plaintiffs have not sufficiently pled facts showing that the

 2   City had a custom or policy that caused a constitutional injury.

 3   Mot. at 8-9.    Plaintiffs respond that given the case’s pre-

 4   discovery posture, it is no surprise they lack elaborate details

 5   to support their failure to discipline and inadequate training

 6   claims.    Opp’n at 13.

 7        Here, a relaxed pleading standard suffices.     Plaintiffs’

 8   allegations based on “information and belief” parallel those

 9   found sufficient in Duran and Phillips.     Plus, Plaintiffs have
10   pled some facts.    One officer allegedly yelled for Officer

11   Hatzell to “wait wait wait,” and another allegedly called him a

12   “rookie.”    FAC ¶¶ 27, 33.   Both implicate training or the lack

13   thereof.    Also, most information needed to support inadequate

14   training or failure to discipline claims is in Defendants’

15   custody and not available to Plaintiffs before discovery.        See

16   Phillips, 2013 WL 6243278 at *11.      Plaintiffs’ FAC contains

17   information “sufficient to supply notice to Defendants” about

18   the kinds of “information they will need to provide to refute,

19   if they can, Plaintiffs’ allegations in a subsequent motion for
20   summary judgment.”    Id.   Because Plaintiffs have successfully

21   stated a Monell claim, the Court denies Defendants’ motion to

22   dismiss Plaintiffs’ Third Cause of Action against the City.

23               3. Fourth Cause of Action Against Officers Griego,
                    Hatzell, and Morgan
24

25        Plaintiffs bring a Bane Act excessive force claim against

26   Officers Griego, Hatzell, and Morgan.     FAC ¶¶ 59-62.   “The

27   essence of a Bane Act claim is that the defendant, by [threat,

28   intimidation, or coercion] tried to or did prevent the plaintiff
                                        9
 1   from doing something he or she had the right to do under the law

 2   or to force the plaintiff to do something that he or she was not

 3   required to do under the law.”    Rodriguez v. City of Modesto,

 4   No. 1:10-cv-01370, 2013 WL 6415620, at *10 (E.D. Cal. Dec. 9,

 5   2013) (internal citation and quotation marks omitted).

 6        To state a claim under California Civil Code § 52.1, a

 7   plaintiff must plead facts showing interference or attempted

 8   interference by threat, intimidation, or coercion.   Cabesuela v.

 9   Browning-Ferris Indus., 68 Cal.App.4th 101, 111 (1998).
10   Generally, a plaintiff must show a coercion independent from the

11   coercion inherent in the wrong:    where coercion is inherent in

12   the alleged constitutional violation, the statutory requirements

13   of threats, intimidation, or coercion are not met.   See Shoyoye

14   v. Cty. of Los Angeles, 203 Cal.App.4th 947, 959 (2012).

15   Federal courts, however, have relaxed the pleading standard for

16   Bane Act claims when the underlying claim involves excessive

17   force:   a plaintiff bringing a Bane Act excessive force claim

18   need not allege a showing of coercion independent from the

19   coercion inherent in the use of force.   See Rodriguez, 2013 WL
20   6415620 at *13; Dillman v. Tuolumne Cty., No. 1:13-cv-00404,

21   2013 WL 1907379, at *21 (E.D. Cal. May 7, 2013).

22        Defendants argue that this Court should dismiss Plaintiffs’

23   § 52.1 claim against all defendants, but for two different

24   reasons.   First, Defendants assert that Plaintiffs have not pled

25   facts showing violence or threat of violence by Officers Griego

26   or Morgan.   Mot. at 12.   Second, Defendants argue that the

27   Shoyoye doctrine bars the claim against Officer Hatzell because

28   Plaintiffs have not alleged facts illustrating violence or
                                       10
 1   threat of violence separate from the shooting itself.    Id. at

 2   13.

 3         In response, Plaintiffs maintain that they have stated a

 4   claim against Officers Griego and Morgan because they

 5   “integrally participated” in Jose’s death and because their

 6   collective presence was coercive.    Opp’n at 13-14.   Again, this

 7   argument fails for the same reasons the integral participation

 8   argument failed above:   the FAC contains no facts supporting

 9   this argument, and the Court will not review new facts stated in
10   opposition briefs.   Plaintiffs have not sufficiently pled facts
11   showing Officers Griego and Morgan committed violence or threats
12   of violence.   The Court grants Defendants’ motion to dismiss
13   with leave to amend Plaintiffs’ Fourth Cause of Action against
14   Officers Griego and Morgan.
15         Plaintiffs’ Bane Act excessive force claim against Officer

16   Hatzell, however, survives.   This Court has previously held that

17   plaintiffs bringing these claims need not allege a showing of

18   coercion independent from coercion inherent in the use of force.

19   See Rodriguez, 2013 WL 6415620 at *13 (rejecting defendants’
20   argument that the Bane Act excessive force claim should be

21   dismissed because plaintiff failed to show a coercion

22   independent from coercion inherent in use of force); Dillman,

23   2013 WL 1907379 at 21 (same).   Defendants’ argument that

24   Plaintiffs must allege facts of violence or intimidation

25   separate from the underlying wronged act fails.    The Court

26   denies Defendants’ motion to dismiss the Fourth Cause of Action

27   against Officer Hatzell.

28
                                     11
 1
                  4. Fifth Cause of Action Against Officers Griego,
 2                   Hatzell, Morgan, and the City

 3
          Plaintiffs bring a wrongful death claim against Officers
 4
     Griego, Hatzell, and Morgan directly and against the City under
 5
     a respondeat superior theory.     FAC ¶¶ 63-68.   To state a claim
 6
     for wrongful death under C.C.P. §§ 337.60 and 337.61, a
 7
     plaintiff must plead facts showing a “tort (negligence or other
 8
     wrongful act), the resulting death, and the damages, consisting
 9
     of the pecuniary loss suffered by the heirs.      Quiroz v. Seventh
10
     Ave. Ctr., 140 Cal.App.4th 1256, 1263 (2006) (original
11
     emphasis).     Stating a claim for negligence satisfies the “tort”
12
     element for wrongful death.     Claiming negligence requires
13
     showing a legal duty to use due care and a breach of that duty
14
     that proximately causes injury.     See Holmes v. Summer, 188
15
     Cal.App.4th 1510, 1528 (2010).
16
          Defendants contend that Plaintiffs failed to state a claim
17
     against Officers Griego and Morgan because those officers owed
18
     no legal duty to otherwise affirmatively act under the facts
19
     alleged.    Mot. at 13.   Plaintiffs argue in response that under
20
     the totality of the circumstances, all the officers violated the
21
     duty of care owed to José by not planning their approach—
22
     especially given José’s alleged diminished state—and by shooting
23
     him even after he obeyed their command to enter the home.        Opp’n
24
     at 15-16.
25
          Defendants make the stronger argument.       A police officer
26
     does not assume a greater obligation to others, and his duty is
27
     limited to that owed to the public at large.      See Williams v.
28
                                       12
 1   California, 34 Cal.3d 18, 24 n.3 (1983) (internal citation

 2   omitted).    “Absent a special relationship creating a special

 3   duty, the police have no legal duty to control the conduct of

 4   others.”    Adams v. City of Fremont, 68 Cal.App.4th 243, 277

 5   (1998) (internal citation omitted).    Because the FAC lacks

 6   factual allegations showing that Officers Griego and Morgan owed

 7   a duty to José or had a special relationship with him, there is

 8   no negligence liability, which means there can be no liability

 9   for wrongful death.    The Court dismisses with leave to amend the
10   Fifth Cause of Action against Officers Griego and Morgan.
11               5. Sixth Cause of Action Against Officers Griego,
                    Hatzell, Morgan, and the City
12

13         Plaintiffs bring a negligence claim against Officers

14   Griego, Hatzell, and Morgan directly and against the City under

15   a respondeat superior theory.    FAC ¶¶ 70-72.    Plaintiffs have

16   since withdrawn this claim recognizing that it is duplicative of

17   their wrongful death claim.    Opp’n at 15 n.4.   The Court

18   dismisses with prejudice the Sixth Cause of Action against

19   Officers Griego, Hatzell, Morgan, and the City.
20               6. Seventh Cause of Action Against Officers Griego,
                    Hatzell, Morgan, and the City
21

22         Plaintiffs seventh claim alleges assault and battery

23   against Officers Griego, Hatzell, and Morgan directly and

24   against the City under a respondeat superior theory.     FAC ¶¶ 74-

25   75.   To properly state a claim for battery, a plaintiff must

26   show that the defendant intentionally performed an act resulting

27   in harmful or offensive conduct with her person; that she did

28   not consent to that contact; and that the harmful or offensive
                                      13
 1   contact caused injury, damage, loss, or harm to her.    See Brown

 2   v. Ransweiler, 171 Cal.App.4th 516, 526-27 (2009).    To

 3   successfully bring an assault claim, a plaintiff must plead

 4   facts showing “an unlawful intent to inflict immediate injury on

 5   the person of another then present.”    Lowry v. Standard Oil Co.

 6   of Cal., 63 Cal.App.2d 1, 6-7 (1944) (internal citation

 7   omitted).

 8        Defendants argue that the FAC reveals that Officers Griego

 9   and Morgan used no force against José and contains no facts
10   showing their unlawful intent to inflict injury.    Mot. at 14.
11   Plaintiffs disagree, arguing that, because battery is a state
12   law counterpart to § 1983 liability, the Defendants’ argument
13   fails as to these officers for the same reason.    Opp’n at 17.
14         Plaintiffs have not meaningfully opposed Defendants’
15   argument, and because the FAC lacks facts showing that Officers
16   Griego and Morgan used force against José or had an unlawful
17   intent to inflict injury, Defendants prevail.    The Court
18   dismisses with leave to amend the Seventh Cause of Action
19   against Officers Griego and Morgan.
20               7. Eighth Cause of Action Against Officers Griego,
                    Hatzell, Morgan, and the City
21

22        Plaintiffs bring a negligent infliction of emotional

23   distress claim (“NIED”) against Officers Griego, Hatzell, and

24   Morgan directly and against the City under a respondeat superior

25   theory.   FAC ¶¶ 77-83.   To state a NIED claim, a plaintiff must

26   allege facts showing that she “[was] closely related to the

27   injur[ed] victim[;] [was] present at the scene of the injury-

28   producing event at the time it occur[red] and [was] then aware
                                      14
 1   that it was causing injury to the victim[;] and [as a result]

 2   suffer[ed] serious emotional distress beyond that which would be

 3   anticipated in a disinterested witness.”     Thing v. La Chusa, 48

 4   Cal.3d 644, 647 (1989).

 5         Defendants contend that because NIED is a theory of

 6   negligence, for the same reasons as the wrongful death claim,

 7   the FAC lacks sufficient facts showing that Officers Griego and

 8   Morgan had a legal duty to José.     Mot. at 14.   Plaintiffs

 9   respond that, as bystanders, they were closely related to José
10   and either witnessed or heard him gunned down.     Opp’n at 16.
11         NIED is not an independent tort.    When a plaintiff seeks

12   damages for NIED, the tort is negligence—regardless of the

13   specific name used to describe the tort.     See Christensen v.

14   Superior Court of Los Angeles Cty., 54 Cal.3d 868, 882 (1991).

15   That means the plaintiff must plead a legal duty, a breach of

16   that duty, causation, and damages.     Id.   As this Court explained

17   in the wrongful death claim discussed above, Plaintiffs have not

18   pled facts showing that Officers Griego and Morgan had a legal

19   duty to José.   Plaintiffs have, therefore, failed to state a
20   claim for NIED as to defendants Griego and Morgan. The Court

21   dismisses with leave to amend the Eighth Cause of Action against

22   these two defendants.

23              8. Damages Under Sections 1985 and 1986

24         Defendants argue that Plaintiffs improperly request

25   attorneys’ fees under 42 U.S.C. §§ 1985 and 1986.     Mot. at 14-

26   15.   To state a claim under § 1985, a plaintiff must allege

27   facts showing that the Defendants conspired together.     See

28   Karim-Panahi v. Los Angeles Police Dep’t, 839 F.2d 621, 626 (9th
                                     15
 1   Cir. 1988).    Merely alleging conspiracy without factual

 2   specificity is insufficient.         See id.   And a claim under § 1986

 3   survives dismissal only if “the complaint contains a valid claim

 4   under section 1985.”    Id.

 5          Plaintiffs did not oppose this argument in their brief.

 6   The Court therefore dismisses this claim with prejudice against

 7   all Defendants.

 8               9. Punitive Damages

 9         Plaintiffs request punitive damages from all Defendants for
10   their alleged section 1983 violations.          FAC ¶¶ 42, 60.
11   Defendants’ argue that this request fails against the City.          Mot.
12   at 15.
13         Municipalities are immune from punitive damages under

14   § 1983.    See City of Newport v. Fact Concerts, Inc., 453 U.S.

15   247, 271 (1981).    And California law forbids imposing punitive

16   damages against public entities.           See Arres, 2011 WL 284971 at

17   *6.   Defendants’ motion to dismiss the claim for punitive damages

18   against the City is granted with prejudice.

19
20                                 III.    ORDER

21         For the reasons discussed above, this Court GRANTS IN PART

22   AND DENIES IN PART Defendants’ motion to dismiss as follows:

23         1.    DISMISSES without prejudice the first cause of action

24   (§ 1983 claim under the Fourth Amendment) against Officers Griego

25   and Morgan;

26         2.    DISMISSES without prejudice the second cause of action

27   (§ 1983 familial relationship claim under the Fourteenth

28   Amendment) against Officers Griego and Morgan, and DISMISSES with
                                           16
 1   prejudice the § 1983 redress claim under the Fourteenth Amendment

 2   against all Defendants;

 3        3.     DENIES Defendants’ motion to dismiss the third cause of

 4   action (Monell claim) against the City;

 5        4.     DISMISSES without prejudice the fourth cause of action

 6   (Cal. Civil Code § 52.1 claim) against Officers Griego and

 7   Morgan, and DENIES Defendants’ motion to dismiss this § 52.1

 8   claim against Officer Hatzell;

 9        5.     DISMISSES without prejudice the fifth cause of action
10   (wrongful death claim) against Officers Griego and Morgan;
11        6.     DISMISSES with prejudice the sixth cause of action
12   (negligence claim) against all Defendants;
13        7.     DISMISSES without prejudice the seventh cause of action
14   (assault and battery claim) against Officers Griego and Morgan;
15        8.     DISMISSES without prejudice the eighth cause of action
16   (NIED claim) against Officers Griego and Morgan;
17        9.     DISMISSES with prejudice the 42 U.S.C. §§ 1985 and 1986
18   attorneys’ fees claims against all Defendants; and
19        10.    DISMISSES with prejudice the punitive damages claim
20   against the City.

21           The FAC’s surviving claims include:

22        1.     The first cause of action (§ 1983 Fourth Amendment

23   excessive force claim) against Officer Hatzell;

24        2.     The second cause of action (§ 1983 Fourteenth Amendment

25   familial relationship claim) against Officer Hatzell;

26        3.     The third cause of action (Monell claim) against the

27   City;

28        4.     The fourth cause of action (Cal. Civil Code § 52.1
                                      17
 1   claim) against Officer Hatzell;

 2        5.   The fifth cause of action (wrongful death claim)

 3   against Officer Hatzell directly and against the City under a

 4   respondeat superior theory;

 5        6.   The seventh cause of action (assault and battery claim)

 6   against Officer Hatzell directly and against the City under a

 7   respondeat superior theory; and

 8        7.   The eighth cause of action (NIED claim) against Officer

 9   Hatzell directly and against the City under a respondeat superior
10   theory.

11        If Plaintiffs elect to amend any claim dismissed without

12   prejudice, they shall file their Second Amended Complaint (“SAC”)

13   within twenty days of the date of this Order.   Defendants shall

14   file their responsive pleadings within twenty days thereafter.

15   If Plaintiffs elect not to file a SAC, this case shall proceed on

16   the remaining claims in the FAC, and Defendants shall file their

17   answers to the FAC within thirty days from the date of this

18   Order.

19        IT IS SO ORDERED.
20   Dated: October 11, 2016

21

22

23

24

25

26

27

28
                                       18
